 Fill in this information to identify your case:

 Debtor 1                     William Barrier Roberts
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ALABAMA

 Case number
 (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                   amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                                                                                                                   12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                 Unsecured claim
 1                                                                   What is the nature of the claim?                                            $ $5,812.59
              Alabama Department of Revenue
              PO Box 327483                                          As of the date you file, the claim is: Check all that apply
              Montgomery, AL 36132                                          Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
              Contact                                                        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Credit Card                   $ $10,403.73
              American Express
              PO Box 981535                                          As of the date you file, the claim is: Check all that apply
              El Paso, TX 79998                                             Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
              Contact                                                        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $

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 Debtor 1          William Barrier Roberts                                                          Case number (if known)




 3                                                                   What is the nature of the claim?              Credit Card                  $ $1,318.16
            Belk/Synchrony Bank
            PO Box 530940                                            As of the date you file, the claim is: Check all that apply
            Atlanta, GA 30353                                               Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Credit Card                  $ $8,594.98
            Citibank
            PO Box 790046                                            As of the date you file, the claim is: Check all that apply
            MO 63170                                                        Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              3252 Leeman Ferry            $ $4,830,373.00
                                                                                                                   Rd. Huntsville, AL
                                                                                                                   35801 Madison
                                                                                                                   County
                                                                                                                   50% interest in
                                                                                                                   property - Roberts
                                                                                                                   LLC
            First National Bank
            206 S. First Street                                      As of the date you file, the claim is: Check all that apply
            Pulaski, TN 38478                                               Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $5,214,573.00
                                                                                    Value of security:                               - $ $384,200.00
            Contact phone                                                           Unsecured claim                                    $ $4,830,373.00


 6                                                                   What is the nature of the claim?              All assets secured by        $ Unknown
                                                                                                                   UCC
            First National Bank


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 Debtor 1          William Barrier Roberts                                                          Case number (if known)

            206 S. First Street                                      As of the date you file, the claim is: Check all that apply
            Pulaski, TN 38478                                               Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $500,000.00
                                                                                    Value of security:                               - $ Unknown
            Contact phone                                                           Unsecured claim                                    $ Unknown


 7                                                                   What is the nature of the claim?              Credit Card                  $ $9,445.90
            Home Depot
            PO Box 790328                                            As of the date you file, the claim is: Check all that apply
            Saint Louis, MO 63179                                           Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?                                           $ $13,569.89
            Internal Revenue Service
            Centralized Insolvency                                   As of the date you file, the claim is: Check all that apply
            Operations                                                      Contingent
            PO Box 7346                                                     Unliquidated
            Philadelphia, PA 19101                                          Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Loan                         $ $7,000.00
            North Alabama Bank
            PO Box 669                                               As of the date you file, the claim is: Check all that apply
            Hazel Green, AL 35750                                           Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$


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 Debtor 1          William Barrier Roberts                                                          Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 10                                                                  What is the nature of the claim?              Credit Card                 $ $3,072.42
            Redstone Federal Credit Union
            220 Wynn Dr.                                             As of the date you file, the claim is: Check all that apply
            Huntsville, AL 35893                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ William Barrier Roberts                                                      X
       William Barrier Roberts                                                              Signature of Debtor 2
       Signature of Debtor 1


       Date      November 16, 2018                                                          Date




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